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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

JAMES L. GIBSON,

             Plaintiff,
v.                                              CASE NO.: 4:20cv467-MW/MAF

DRUG ENFORCEMENT ADMIN.,
et al.,

             Defendants.

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        ORDER ACCEPTING REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge’s Report

and Recommendation, ECF No. 3. Upon consideration, no objections having been

filed by the parties,

      IT IS ORDERED:

      The report and recommendation is accepted and adopted, as this Court’s

opinion. This case is transferred to the Western District of Virginia. The Clerk shall

take all necessary steps to effect the transfer and close the file.

      SO ORDERED on October 27, 2020.
                                         s/Mark E. Walker
                                         Chief United States District Judge
